                    Oral Argument Scheduled for March 21, 2025

                        NO. 24-1151 and Consolidated Cases

                 UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
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UNITED STEEL, PAPER AND FORESTRY, RUBBER, MANUFACTURING,
     ENERGY, ALLIED INDUSTRIAL AND SERVICE WORKERS
               INTERNATIONAL UNION, AFL-CIO,

                                      Petitioner,

                                           v.

              U.S. ENVIRONMENTAL PROTECTION AGENCY,

                                     Respondent.


    LABOR PETITIONERS’ OPPOSITION TO EPA’S MOTION FOR
  VOLUNTARY REMAND AND RENEWED MOTION TO HOLD CASE IN
                        ABEYANCE

      Respondent Environmental Protection Agency (“EPA”) is once again asking

this Court to stay proceedings in these consolidated cases to enable the Agency to

rethink its procedures for completing risk evaluations of toxic chemicals under the

Toxic Substances Control Act (“TSCA”). 15 U.S.C. § 2605(b)(4)(B). The Court has

already once declined to halt this case, which is fully briefed and on the verge of oral

argument. Petitioners United Steel, Paper and Forestry, Rubber, Manufacturing,

Energy, Allied Industrial and Service Workers International Union, AFL-CIO

(“USW”), International Association of Machinists and Aerospace Workers, AFL-
CIO, and Worksafe (collectively, “Labor Petitioners”) strongly oppose EPA’s

motion.

      As the Labor Petitioners explained in response to EPA’s previous Motion to

Postpone Oral Argument and Hold Case in Abeyance (Doc. 2098875), TSCA charges

EPA to conduct risk evaluations to determinate whether a toxic substance presents an

“unreasonable risk of injury to health or the environment,” and if so, to develop risk

management rules to eliminate that risk. 15 U.S.C. § 2605(a). The statute expressly

required EPA to “establish, by rule, a process to conduct [its] risk evaluations” within

one year after Congress amended the Act in 2016 by passing the Frank R. Lautenberg

Chemical Safety for the 21st Century Act, Pub. L. No. 114-182, 130 Stat. 448. 15

U.S.C. § 2605(b)(4)(B).

      EPA initially complied with this mandate by establishing a framework for

conducting its risk evaluations in 2017, under the first Trump Administration. EPA,

“Procedures for Chemical Risk Evaluation Under the Amended Toxic Substances

Control Act,” 82 Fed. Reg. 33726 (July 20, 2017) (“2017 Framework Rule”). Various

parties, including USW, the Alaska Community Action on Toxics, the American

Chemistry Council (“ACC”) and the Chamber of Commerce – all parties to this case

– challenged the 2017 Framework Rule in the Ninth Circuit, where they fully briefed

many of the same issues currently pending before this Court. Safer Chemicals,

Healthy Families v. EPA, 943 F.3d 397 (9th Cir. 2019) (upholding the rules in part,

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vacating in part, and declining to address other issues as not ripe). The Ninth Circuit

declined to rule on the merits of several of the claims raised in Safer Chemicals,

finding they were not ripe for review because EPA’s rules were ambiguous and might

not be applied as Petitioners feared. Id. at 415-16.

      EPA then applied some of the contested provisions in conducting its initial risk

evaluations. Of particular concern to the Labor Petitioners, EPA adopted and applied

a policy of assuming employees were using personal protective equipment (“PPE”),

particularly respirators, when assessing occupational exposures. USW and various

environmental groups filed opening briefs in one case in which EPA applied the 2017

Rule and its PPE policy in a specific risk evaluation, Neighbors for Environmental

Justice v. EPA, No. 20-72091 (9th Cir.), and the United Auto Workers and the Alaska

Community Action on Toxics were poised to file opening briefs in another such case,

Alaska Community Action on Toxics v. EPA, No. 20-73099 (9th Cir.), when EPA

agreed to reconsider its approach.

      In 2024, the Biden Administration adopted a new set of rules, to “better align

with the statutory text.” “Procedures for Chemical Risk Evaluations under [TSCA],”

89 Fed.Reg. 37028 (May 3, 2024) (“2024 Rule”). Of particular relevance here, EPA

revised three of approaches to evaluating risk: First, the 2024 Rule provided that EPA

would “make a single risk determination on [a] chemical substance. . . , as opposed to

individual risk determinations on each individual use of the chemical[,]” an approach

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EPA believed “reflects a plain reading of the statutory text and structure.” Id. at

37035. Second, the Agency would include all of a chemical’s conditions of use in the

scope of a risk evaluation, another revision EPA based on its view that this was a

“better reading of TSCA’s statutory text and structure” than its previous approach,

which gave it authority “to exclude conditions of use from the scope of the risk

evaluation.” Id. at 37031. Third, EPA would no longer assume that workers were

always provided with and appropriately used PPE, although the Agency would

consider PPE “use that is supported by the reasonably available information and

therefore known to be inherent in the performance of an activity.” Id. at 37037.

Finally, EPA added “overburdened communities” as an example of “potentially

exposed or susceptible subpopulations,” finding that Congress granted it discretion to

add to the list of such subpopulations included in the statute. Id. at 37040. These are

the four provisions at issue in these consolidated cases.

      EPA has now applied to this Court to hold the case in abeyance and to remand

the 2024 Rule to permit the Agency once again to reconsider its approach to these

provisions. EPA’s Motion for Voluntary Remand and Renewed Motion to Hold Case

in Abeyance (Doc. 2104767) at 1-2 (“Motion”). In its Motion, EPA asserts that a

remand would allow the Agency to “reconsider certain legal and policy conclusions,”

to “advance the Administration’s policy objectives.” Motion at 7, quoting Beck Decl.

¶¶ 4-5. Whatever the Administration’s “policy objectives” may be, however, the

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issues the parties have placed before the Court are pure statutory interpretation

questions, which are for this Court to decide. Rather than sending the 2024 Rule back

to the Agency for yet another reformulation, only to have the same legal issues

presented once again to this or another court, this Court should deny EPA’s motion,

hold oral argument as scheduled on March 21, and finally resolve the fully-briefed

statutory questions pending before it.

                                     ARGUMENT

        EPA is entirely correct that “[a]gencies may reconsider past decisions and

revise, replace or repeal a decision to the extent permitted by law and supported by a

reasoned explanation.” Motion at 5 (citations omitted). Indeed, nothing stands in the

Agency’s way of proposing a new rule and engaging in notice and comment

rulemaking to replace the 2024 Rule with a new framework for assessing risk. It does

not follow, however, that it is reasonable or appropriate for the Court to remand the

2024 Rule while EPA engages in this process.

   A.      The Issues Before the Court are Strictly Questions of Statutory
           Interpretation

        EPA is asking the Court to remand the 2024 Rule to enable it to engage in

further rulemaking “in light of a change of administration and attendant change in

policy priorities and approach to statutory interpretation.” Motion at 7. In its Motion,

the Agency identifies four specific issues it intends to reconsider: “the Agency’s


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approach to make a single risk determination for the chemical substance”: the

Agency’s approach “requiring inclusion of all conditions of use in each risk

evaluation”; “how it considers personal protective equipment when making risk

determinations”; and “its decision to include ‘overburdened communities’ as an

example in the definition of ‘potentially exposed or susceptible subpopulations.’” Id.

at 7-8. Whatever the Agency’s policy objectives, each of these issues rests on an

unresolved legal issue of what TSCA requires.

      While EPA asserts that “some of the issues raised in the parties’ briefing are

questions of statutory interpretation,” id. at 9 (emphasis added), in fact, every one of

the issues EPA identified is currently before this Court on the parties’ unanimous

view that their resolution rests on interpreting TSCA. Thus, the Texas Chemistry

Council, ACC, American Fuel & Petrochemical Manufacturers, and American

Petroleum Institute (“Industry Petitioners”) argue in their brief that “EPA’s all

conditions of use approach,” its “whole chemical approach for risk determinations,”

and its “No-PPE assumption” are all “contrary to TSCA.” Joint Opening Brief of

Industry Petitioners (Doc. 2100888) at 11-12; see also Industry Petitioners’ Reply

Brief (Doc. 2100880) at 3, 10, 20 (all conditions approach, whole chemical approach,

and treatment of PPE are unlawful under TSCA). Similarly, Intervenor-Petitioner

Olin complains that the “whole chemical” approach violates TSCA, Olin Intervention

Opening Brief (Doc. 2100771) at 8, and that EPA is exceeding its statutory authority

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by including overburdened communities in the definition of “potentially exposed or

susceptible subpopulations,” Olin Reply Brief (Doc. 2100774) at 14.

      The issue the Labor Petitioners raise is similarly grounded in TSCA’s text: that

the statute, by its terms, prohibits EPA from considering PPE in assessing risk. Labor

Petitioners’ Opening Brief (Doc. 2100704) at 18. Supporting EPA, Intervenor-

Respondents Alaska Community Action on Toxics and the Sierra Club argue that the

statute requires the Agency to consider all conditions of use, and that EPA’s single

risk determination and inclusion of overburdened communities are consistent with

TSCA. Intervenor-Respondents Brief (Doc. 2100828) at 17, 33, 42.

      Finally, EPA’s response to each of the issues the Petitioners raise rests entirely

on its own statutory interpretations. Thus, in defending the 2024 Rule, EPA has

argued that including all conditions of use in its risk assessment and making a single-

chemical determination reflect the “best reading[s] of the statute;” that TSCA

requires the Agency to consider actual PPE use, but not to assume its universal use;

and that TSCA grants the Agency the discretion “to include overburdened

communities as an example in the definition of potentially exposed or susceptible

subpopulation.” EPA Answering Brief (Doc. 2100889) at 22, 42, 74, 79, 87.

      In short, while the parties’ views diverge on what the statute means, they are in

total agreement that every one of the issues in this case rests on resolving their

competing statutory interpretations. The Supreme Court has made clear that doing so

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is "exclusively a judicial function." Loper Bright Enterprises v. Raimondo, 144 S. Ct.

2244, 2258 (2024), quoting United States v. American Trucking Assns., Inc., 310 U.S.

534, 544 (1940). There are circumstances in which “the informed judgment of the

Executive Branch . . . could be entitled to great weight,” id. at 2259 (internal citations

omitted), but this is not such a case. Nor, if the Court were to remand the Rule, would

EPA’s subsequent statutory interpretation be entitled to “great weight,” as the

“power” of an agency’s views to persuade rests, in large part, on “its consistency with

earlier and later pronouncements.” Id., quoting Skidmore v. Swift, 323 U.S. 134, 140

(1944). Here, where EPA is asking the Court for another opportunity to change its

reading of TSCA on these very issues, having already done so at least once, its views

would completely lack any power to persuade.

    B.      EPA Has Presented No Justification for Remanding the 2024 Rule

         Where an agency’s voluntary remand request is “associated with a change in

agency policy or interpretation,” and there is “an issue as to whether the agency is

either compelled or forbidden by the governing statute to reach a [particular] result, a

reviewing court . . . has considerable discretion. It may decide the statutory question

or it may order a remand.” SKF USA v. USA, 254 F.3d 1022, 1029 (Fed. Cir. 2001).1


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  In SKF, a pre-Loper Bright case, the court referred to this as a “step one Chevron
issue,” that is, one where the statute is clear and thus, no deference was owed the
agency’s interpretation. In light of the Supreme Court’s Loper Bright decision, it is
now up to the court, in every instance to say “what the law is.” Loper Bright, 144 S.
Ct. at 2272 (citation omitted).
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EPA has provided no valid reasons why, rather than deciding the statutory questions,

this Court should order a remand.

      First, EPA asserts that it should be allowed to reconsider the 2024 Rule.

Motion at 7. As already noted, nothing precludes the Agency from doing so,

regardless of whether the Rule is remanded. Moreover, remanded or not, the 2024

Rule will remain in effect, and EPA will continue to apply it in conducting its risk

evaluations, unless and until the Agency completes a new notice and comment

rulemaking procedure. In other words, a remand will have no impact on either EPA’s

ability to engage in new rulemaking or its obligation to continue to adhere to the 2024

Rule in the meantime. The only difference is that an early decision by this Court

could guide EPA in developing a new rule that will both advance its policy objectives

and comply with the law.

      Second, contrary to EPA’s claim that a remand would promote judicial

economy (Motion at 8), a remand would in fact burden the parties, who have already

briefed the statutory issues at least three times in court and many more times in

comments submitted to the Agency. The back and forth of commenting and briefing

statutory questions again and again, without any judicial guidance as to the “best

reading” of TSCA imposes an unwarranted burden on all parties. It guarantees that

all parties will be back in court again, required to fully brief the same issues another

time, while EPA’s risk evaluations continue without any guidance on what the statute

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requires. Thus, EPA’s reconsideration of the 2024 Rule will neither resolve nor

narrow the issues; it may simply cause the parties to switch sides. Nor will

development of a “new and different record” have any impact on “subsequent judicial

review.” Motion at 8. Rather, the same statutory questions, which have never been

squarely addressed, will continue to shadow EPA’s rulemaking, as well as the risk

evaluations it has conducted and will continue to conduct until these issues are

resolved.

      In this respect, the issues here are unlike those in the cases EPA cites, where

this Court granted remands when there was a real possibility that the agency would

either resolve or significantly change the nature of the pending dispute. In Ethyl

Corp. v. Browner, 989 F.2d 522, 524 (D.C. Cir. 1993), for example, this Court

granted EPA a voluntary remand to permit the Agency to reconsider a decision based

on newly available evidence. New factual findings are not going to affect the issues

here. In Cadillac of Naperville, Inc. v. NLRB, 14 F.4th 703, 719 (D.C. Cir. 2021), this

Court remanded a case to the NLRB to enable that agency to reconsider the case by

applying new intervening law. Again, the only change EPA is seeking to apply in

these cases is a change of policy, which may change the posture of the parties but will

neither resolve nor significantly alter the nature of the issues before the Court.

      EPA’s own motion attests to the fact that rather than resulting in judicial

economy, postponing resolution of the issues in this case is likely to result in a

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proliferation of litigation and resulting prejudice to the parties. As long as the 2024

Rule is in effect, the Agency must follow it in conducting risk assessments. As EPA

acknowledges in its Motion, parties that “contend they are harmed by the application

of the 2024 Rule in any risk evaluation while EPA is reconsidering the 2024 Rule . . .

can” – and we submit, will – “seek relief from such harm through judicial review of

the chemical-specific actions.” Motion at 11. In other words, continued application of

the 2024 Rule will inevitably lead to chemical-by-chemical challenges in the courts

of appeals – and there are likely to be many.

      The burden that delaying resolution of these issues will inflict on the parties is

not limited to the investment of time and resources in litigating challenges to final

rules. EPA currently has 23 chemicals undergoing risk evaluation and another five

prioritized to enter the process. See EPA, “Ongoing and Completed Chemical Risk

Evaluations under TSCA,” https://www.epa.gov/assessing-and-managing-chemicals-

under-tsca/ongoing-and-completed-chemical-risk-evaluations-under (last accessed

March 12, 2025). TSCA requires EPA to complete these evaluations, with

opportunities for public comment and all on tight time frames. 15 U.S.C. §

2605(b)(4)(G) (setting deadlines for risk evaluations); id. § 2618 (making the

deadline judicially enforceable). EPA is behind schedule in completing the mandated

number of risk evaluations, and it recently entered into two consent orders setting

strict deadlines for completing many risk evaluations, including a consent order with

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the ACC, a petitioner in this case. Community In-Power and Development Ass’n v.

EPA, No. 1:23-cv-02715-DLF (D.D.C.) Dkt. Nos. 39-40. Delaying a ruling on the

statutory issues in this case increases the likelihood that EPA will be forced to redo

these pending risk evaluations, causing delays in the risk evaluation process. This is

exactly what Congress sought to avoid by establishing strict, judicially enforceable

deadlines for risk evaluation and risk management in the 2016 amendments.

      Moreover, reviewing and commenting on EPA’s several hundred-page risk

evaluations is a resource intensive effort for all parties. And because parties cannot

bring challenges to an unreasonable risk determination until EPA issues its risk

management rules, 15 U.S.C. § 2618(a) (authorizing review of either final risk

management rules or orders issued under 15 U.S.C. § 2605(i)(1) finding no

unreasonable risk), redoing a risk evaluation also potentially means redoing any

subsequent risk management rule. Requiring all stakeholders to revisit the same

statutory issues again and again as EPA’s policy positions shift back and forth

without judicial guidance on the validity of EPA’s approach, increases the burden on

the parties and the courts exponentially and will further delay long overdue

protections from unreasonable chemical risks for workers and members of the public.

      EPA is free to undertake a new rulemaking process and, “to the extent

permitted by law,” to revise its approach to risk assessment. Motion at 5. But it is up

to this Court to interpret how TSCA applies to each of the issues the parties are

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presenting. There is absolutely no reason to remand the Rule in the meantime and

delay resolving the recurring issues that are currently before the Court.

   C.      The Court Would not be Issuing an Advisory Opinion by Resolving
           these Cases

        The Industry Petitioners argue that given the Agency’s intention to revisit the

2024 Rule, any rulings in this case would constitute nothing more than an advisory

opinion. Industry Petitioners’ Reply in Support of EPA’s Motion for Voluntary

Remand (Doc. 2105457) at 3. They are wrong. Congress has directed EPA to

determine whether toxic substances pose “unreasonable risk[s] of injury to health or

the environment.” The issues the parties have raised in these consolidated cases are

fundamental to how Congress intended EPA to conduct its risk assessments.

        The parties have fully briefed these statutory issues in these consolidated cases,

which mirror those EPA intends to reevaluate. The issues have been joined. The

Labor Petitioners agree with the Industry Petitioners that “it is improbable that the

agency will simply readopt the Rule as currently written.” Industry Reply at 4. But

whether the Agency changes its views on what TSCA means is immaterial. Having

now offered several interpretations of TSCA’s requirements for risk evaluation,

EPA’s views are increasingly inconsistent and entitled to little or no deference under

Skidmore. These consolidated cases present legal questions, which Loper Bright




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instructs the Court to decide, and about which there is a live and concrete controversy

for the Court to resolve. It is time for this Court to do so.

                                     CONCLUSION

      The Labor Petitioners respectfully submit that the Court should deny EPA’s

Motion, hold oral argument as scheduled on March 21, and finally resolve the issues

raised in these cases.

                                   Respectfully submitted,

                                   /s/Randy S. Rabinowitz
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                       CERTIFICATE OF COMPLIANCE

       This response complies with the type-volume limitation of Federal Rule of

 Appellate Procedure 27(d)(2)(A) because it uses a monospaced typeface and contains

 3137 words.

       This brief complies with the typeface requirements of Federal Rule of

 Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

 Appellate Procedure 32(a)(6) because it has been prepared in 14-point typeface using

 Time New Roman font.



Dated: March 14, 2025
       Washington, D.C.
                                           /s/ Victoria L. Bor
                                           Attorney for Labor Petitioners
                        CERTIFICATE OF SERVICE

      I hereby certify that I e-filed the foregoing with the Clerk of the Court for

the United States Court of Appeals for the D.C. Circuit by using the appellate

CM/ECF system on February 11, 2025.

      Participants in the case who are registered CM/ECF users will be served by

the appellate CM/ECF system.


Dated:     March 14, 2025
           Washington, D.C.

                                     /s/ Victoria L. Bor
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